            Case 3:21-cv-00338-HNJ Document 1 Filed 03/04/21 Page 1 of 5                          FILED
                                                                                         2021 Mar-04 PM 01:58
                                                                                         U.S. DISTRICT COURT
                                                                                             N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                            NORTHWESTERN DIVISION

Melissa Driggers,                         )
                                          )
       Plaintiff,                         )
                                          )
       v.                                 )        No.
                                          )
Medicredit, Inc., a Missouri corporation, )
                                          )
       Defendant.                         )        Jury Demanded

                                        COMPLAINT

       Plaintiff, Melissa Driggers, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s

collection actions violated the FDCPA, and to recover damages, and alleges:

                               JURISDICTION AND VENUE

       1.      This Court has jurisdiction, pursuant to § 1692k(d) of the FDCPA and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) the acts and transactions

occurred here; b) Plaintiff resides here; and, c) Defendant transacts business here.

                                          PARTIES

       3.      Plaintiff, Melissa Driggers (“Driggers"), is a citizen of the State of Alabama,

residing in the Northern District of Alabama, from whom Defendant attempted to collect

a defaulted consumer debt that she allegedly owed for medical services to Helen Keller

Hospital.

       4.      Defendant, Medicredit, Inc. (“Medicredit”), is a Missouri corporation that

acts as a debt collector, as defined by § 1692a of the FDCPA, because it regularly uses

                                              1
            Case 3:21-cv-00338-HNJ Document 1 Filed 03/04/21 Page 2 of 5




the mails and/or the telephone to collect, or attempt to collect, defaulted consumer

debts that it did not originate. Medicredit operates a defaulted debt collection business,

and attempts to collect debts from consumers in many states, including consumers in

the State of Alabama. In fact, Defendant Medicredit was acting as a debt collector as to

the defaulted consumer debt it attempted to collect from Plaintiff.

       5.      Defendant Medicredit is authorized to conduct business in the State of

Alabama and maintains a registered agent here, see, record from the Alabama

Secretary of State, attached as Exhibit A. In fact, Defendant Medicredit conducts

business in Alabama.

                                FACTUAL ALLEGATIONS

       6.      Due to financial difficulties, Plaintiff was unable to pay her debts, including

a debt she allegedly owed for medical services to Helen Keller Hospital. Defendant

Medicredit attempted to collect this debt from her via negative credit reports. Unsure

about Defendant Medicredit, and unsure about the debt, Ms. Driggers consulted with

counsel about her debt issues and the debt that Medicredit was trying to collect.

       7.      Accordingly, Ms. Driggers’ attorney wrote to Defendant Medicredit, via a

letter dated December 30, 2020, to dispute the debt that Medicredit was trying to collect.

A copy of this letter and fax confirmation are attached as Exhibit B.

       8.      On March 2, 2021, Ms. Driggers obtained and reviewed copies of her

TransUnion and Experian credit reports, which showed that Defendant Medicredit had

continued to report the debt she allegedly owed to Helen Keller Hospital, but had failed

to note that the debt was disputed. The pertinent parts of Ms. Driggers’ TransUnion and

Experian credit reports are attached as Group Exhibit C.

                                               2
            Case 3:21-cv-00338-HNJ Document 1 Filed 03/04/21 Page 3 of 5




       9.      Defendant’s violations of the FDCPA were material because Defendant’s

failure to note that the debt was disputed when Defendant reported, or continued to

report, this debt on Plaintiff’s credit report impaired her credit rating and her ability to

obtain credit. Moreover, Defendant’s failure to note, when reporting this debt on

Plaintiff’s credit report, that the debt was disputed, made it appear to Plaintiff that she

did not actually have the right to dispute this debt. Defendant’s collection actions

alarmed, confused and distressed Ms. Driggers, and impacted her credit score.

       10.     All of Defendant’s collection actions at issue in this matter occurred within

one year of the date of this Complaint.

       11.     Defendant’s collection communications are to be interpreted under the

“least sophisticated consumer” standard, see, Jeter v. Credit Bureau, 760 F.2d 1168,

1176 (11th Cir. 1985); LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1193-1194

(11th Cir. 2010).

                                         COUNT I
                          Violation Of § 1692e Of The FDCPA –
                          False or Misleading Representations

       12.     Plaintiff adopts and realleges ¶¶ 1-11.

       13.     Section 1692e of the FDCPA prohibits debt collectors from using any

false, deceptive or misleading means to collect or attempt to collect a debt, including,

but not limited to, communicating or threatening to communicate to any person credit

information which is known or which should be known to be false, including the failure to

communicate that a disputed debt is disputed, see 15 U.S.C. § 1692e(8)(“…the

following conduct is a violation of this section…including the failure to communicate that

a disputed debt is disputed…”); see also, Evans v. Portfolio Associates, 889 F.3d 337,

                                               3
           Case 3:21-cv-00338-HNJ Document 1 Filed 03/04/21 Page 4 of 5




346 (7th Cir. 2018); Sayles v. Advanced Recovery Systems, 865 F.3d 246, 249-250 (5th

Cir. 2017); and Brady v. Credit Recovery, 160 F.3d 64, 65 (1st Cir. 1998).

         14.   Defendant, by continuing to report the debt to credit reporting agencies,

when it knew the debt was disputed by Plaintiff, and by failing to report that the debt

was disputed, used false, deceptive or misleading means to collect or attempt to collect

debts, in violation of § 1692e(8) of the FDCPA.

         15.   Defendant’s violations of § 1692e(8) of the FDCPA render it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees, see, 15 U.S.C. §

1692k.

                                       COUNT II
                         Violation Of § 1692f Of The FDCPA --
                     Unfair Or Unconscionable Collection Actions

         16.   Plaintiff adopts and realleges ¶¶ 1-11.

         17.   Section 1692f of the FDCPA prohibits a debt collector from using any

unfair or unconscionable means to collect or attempt to collect a debt, see, 15 U.S.C. §

1692f.

         18.   Defendant, by continuing to report the debt to credit reporting agencies,

when it knew the debt was disputed by Plaintiff, and by failing to report that the debt

was disputed, used unfair or unconscionable means to collect, or attempt to collect,

debts, in violation of § 1692f of the FDCPA.

         19.   Defendant’s violations of § 1692f of the FDCPA render it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees, see, 15 U.S.C. §

1692k.



                                               4
            Case 3:21-cv-00338-HNJ Document 1 Filed 03/04/21 Page 5 of 5




                                  PRAYER FOR RELIEF

       Plaintiff, Melissa Driggers, prays that this Court:

       1.      Find that Defendant’s collection practices violate the FDCPA;

       2.      Enter judgment in favor of Plaintiff Driggers, and against Defendant, for

actual and statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

       3.      Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Melissa Driggers, demands trial by jury.

                                                  By: /s/ David J. Philipps_____________
                                                  One of Plaintiff’s Attorneys

                                                  By: /s/ Ronald C. Sykstus____________
                                                  One of Plaintiff’s Attorneys

Dated: March 4, 2021

David J. Philipps      (Ill. Bar No. 06196285)(pro hac vice pending)
Mary E. Philipps       (Ill. Bar No. 06197113)(pro hac vice pending)
Philipps & Philipps, Ltd.
9760 S. Roberts Road, Suite One
Palos Hills, Illinois 60465
(708) 974-2900
(708) 974-2907 (FAX)
davephilipps@aol.com
mephilipps@aol.com

Ronald C. Sykstus (AL Bar No. ASB-7064-K73R)
Bond, Botes, Sykstus, Tanner
   & Ezzell, P.C.
225 Pratt Avenue
Huntsville, Alabama 35801
(256) 539-9899
(256) 713-0237 (FAX)
Rsykstus@bondnbotes.com


                                              5
